          Case 22-11798              Doc 3         Filed 12/19/22 Entered 12/19/22 09:54:32                                  Desc Notice of
                                                       Ch11 Mtg C/P Page 1 of 2

 Information to identify the case:

 Debtor         The Village Center Group, Limited
                Partnership                                                                 EIN:   45−5059077

                Name

 United States Bankruptcy Court     District of Massachusetts                               Date case filed for chapter:       11     12/12/22

            22−11798
 Case number:

Official Form 309F1 (For Corporations or Partnerships)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   10/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed
below or through PACER (Public Access to Court Electronic Records at pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with court.

  1. Debtor's full name                       The Village Center Group, Limited Partnership


  2. All other names used in the
     last 8 years


  3. Address                                  77 Route 28
                                              West Yarmouth, MA 02673

  4. Debtor's attorney                        Peter M. Daigle
      Name and address                        The Law Office of Peter M. Daigle, P. C.                   Contact phone (508) 771−7444
                                              1550 Falmouth Road
                                              Suite 10                                                   Email: pmdaigleesq@yahoo.com
                                              Centerville, MA 02632

  5. Bankruptcy clerk's office                                                                            Hours open:
      Documents in this case may be filed     U. S. Bankruptcy Court                                      Monday−Friday 8:30am−5:00pm
      at this address.                        J.W. McCormack Post Office & Court House
      You may inspect all records filed in    5 Post Office Square, Suite 1150                            Contact phone 617−748−5300
      this case at this office or online at   Boston, MA 02109−3945
      www.pacer.uscourts.gov.                                                                             Date: 12/19/22


  6. Meeting of creditors                                                                                Location:
      The debtor's representative must    January 9, 2023 at 01:30 PM
      attend the meeting to be questioned                                                                The meeting will be held
      under oath.                         The meeting may be continued or adjourned to a later           TELEPHONICALLY
      Creditors may attend, but are not   date. If so, the date will be on the court docket.
      required to do so.
                                      Contact the office of the U.S. Trustee for dial−in information.
                                                                                                           For more information, see page 2 >




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Debtor The Village Center Group, Limited Partnership                                                                                Case number 22−11798


  7. Proof of claim deadline                 Deadline for filing proof of claim:                            Not yet set. If a deadline is set, the court will
     Papers and any required fee must                                                                       send you another notice.
     be received by the bankruptcy
     clerk's office no later than the
     deadlines listed.                       A proof of claim is a signed statement describing a creditor's claim. A proof of claim form (Official Form 410)
                                             may be obtained at www.uscourts.gov or any bankruptcy clerk's office or printed from the Court's website at
                                             www.mab.uscourts.gov/mab/creditorinformation. You may also file your claim electronically through the
                                             court's website at www.mab.uscourts.gov.


                                             If your claim is scheduled and is not listed as disputed, contingent or unliquidated, it will be allowed in the
                                             amount scheduled unless you filed a Proof of Claim or you sent further notice about the claim. Whether or
                                             not your claim is scheduled, you are permitted to file a Proof of Claim. If your claim is not listed at all or if
                                             your claim is listed as disputed, contingent, or unliquidated, then you must file a Proof of Claim or you might
                                             not be paid any money on your claim and may be unable to vote on the plan.

                                             Your claim will be allowed in the amount scheduled unless:
                                             • your claim is designated as disputed, contingent, or unliquidated;
                                             • you file a proof of claim in a different amount; or
                                             • you receive another notice.

                                             If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                             must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                             You may file a proof of claim even if your claim is scheduled.

                                             You may review the schedules at the bankruptcy clerk's office or online at pacer.uscourts.gov.

                                             Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                             proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                             explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                             rights, including the right to a jury trial.


  8. Exception to discharge                   If § 523(c) applies to your claim and you seek to have it excepted from
     deadline                                 discharge, you must start a judicial proceeding by filing a complaint by
      The bankruptcy clerk's office must      the deadline stated below.
      receive a complaint and any             Deadline for filing the complaint: 60 days from the first
      required filing fee by the following
      deadline.                               date set for the meeting of creditors.


  9. Deadline to file §503(b)(9)              Requests under Bankruptcy Code §503(b)(9)(goods sold within
     requests                                 twenty(20) days of the bankruptcy) must be filed in the bankruptcy clerk's
                                              office.
                                              Filing deadline: 60 days from the first date set for the
                                              meeting of creditors.

                                               If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  10. Creditors
      address
                with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                               have any questions about your rights in this case.


                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  11. Filing a Chapter 11
      bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                             trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                             business.


                                             Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                             debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  12. Discharge of debts                     debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                             discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                             paying the filing fee in the bankruptcy clerk's office by the deadline.


                                             Notice is hereby given that any creditor or other interested party who wishes to receive notice of the estate
  13. Abandonment
      Property
                  of Estate                  representative's intention to abandon property of the estate pursuant to 11 U.S.C. § 554(a) must file with
                                             the Court and serve upon the estate representative and the United States trustee a written request for such
                                             notice within fourteen (14) days from the date first scheduled for the meeting of creditors




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